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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-0187V
                                          UNPUBLISHED


    GARY ALLEN,                                                 Chief Special Master Corcoran

                         Petitioner,                            Filed: February 17, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Findings of Fact; Site of Vaccination
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Bridget Candace McCullough, Muller Brazil, LLP, Dresher, PA, for petitioner.

Naseem Kourosh, U.S. Department of Justice, Washington, DC, for respondent.


                                           FINDINGS OF FACT1

       On February 24, 2020, Gary Allen filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered left shoulder injuries related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccine received on October
25, 2017. Petition at 1. The case was assigned to the Special Processing Unit of the
Office of Special Masters (the “SPU”).



1
   Because this unpublished fact ruling contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the fact ruling will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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      For the reasons discussed below, I find that the flu vaccine Petitioner received in
October 2017 was more likely than not administered in his left arm.

    I.     Relevant Procedural History

       On February 24, 2020, Mr. Allen filed the petition along with Exhibits 1-12
containing medical records and an affidavit (ECF No. 1). Petitioner filed a Statement of
Completion on March 4, 2020 (ECF No. 8). On March 4, 2020, the case was activated
and assigned to the SPU (ECF No. 9).

       A telephonic status conference was held on April 16, 2020. Scheduling Order,
issued Apr. 17, 2020 (ECF No. 12). During the conference, there was discussion about
the details regarding the October 25, 2017 administration of the flu vaccine. The petition
asserted the vaccine was administered in Petitioner’s left shoulder, but the vaccine
administration record indicated it was administered in his right deltoid. Petition at 1, Ex. 1
at 2. Petitioner’s counsel stated that it was Mr. Allen’s position that the site of vaccine
administration had been incorrectly recorded in the record. The parties were encouraged
to discuss how to address this factual issue.

        On June 8, 2020, Respondent filed a status report setting forth counsel’s informal
assessment of the case (ECF No. 13). Respondent suggested that Petitioner obtain and
file certified records concerning the vaccination from the pharmacy where the vaccine
was administered, as well as affidavit evidence from the pharmacist who administered
the vaccine. Id. To that end, Petitioner filed certified records from Albertson’s Pharmacy
on September 11, 2020, and later re-filed the same record as Exhibit 13 on February 12,
2021 (ECF Nos. 19, 27).3 On September 24, 2020, Petitioner was directed to file an
affidavit from the pharmacist who administered the vaccine (ECF No. 20).

       On October 26, 2020, a telephonic status conference was held (ECF No. 23).
Petitioner’s counsel reported that an affidavit from the pharmacist could not be filed
because the pharmacist’s identity was not revealed in the vaccine administration records.
Id. The parties discussed how to proceed, and agreed that resolution of the administration
issue on the papers would be appropriate. Id.

       On December 3, 2020, Petitioner filed a motion for ruling on the record (ECF No.
24). On December 17, 2020, respondent filed a response (ECF No. 25). On December
17, 2020, Petitioner’s counsel reported that Petitioner did not intend to file a reply. Informal



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 The September 11, 2020 filing was stricken because it was labeled with a duplicate exhibit number (ECF
No. 26).

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Communication, dated Dec. 18, 2020. The issue of the site of vaccine administration is
now ripe for resolution.

   II.     Issue

      At issue is whether Petitioner received the vaccination alleged as causal in his left
arm. 42 C.F.R. § 100.3(a) XIV.B. (2017) (influenza vaccination).

   III.    Authority

         Pursuant to Vaccine Act Section 13(a)(1)(A), a petitioner must prove, by a
preponderance of the evidence, the matters required in the petition by Vaccine Act
Section 11(c)(1). A special master must consider, but is not bound by, any diagnosis,
conclusion, judgment, test result, report, or summary concerning the nature, causation,
and aggravation of petitioner’s injury or illness that is contained in a medical record.
Section 13(b)(1). “Medical records, in general, warrant consideration as trustworthy
evidence. The records contain information supplied to or by health professionals to
facilitate diagnosis and treatment of medical conditions. With proper treatment hanging in
the balance, accuracy has an extra premium. These records are also generally
contemporaneous to the medical events.” Cucuras v. Sec’y of Health & Human Servs.,
993 F.2d 1525, 1528 (Fed. Cir. 1993).

       Accordingly, where medical records are clear, consistent, and complete, they
should be afforded substantial weight. Lowrie v. Sec’y of Health & Human Servs., No. 03-
1585V, 2005 WL 6117475, at *20 (Fed. Cl. Spec. Mstr. Dec. 12, 2005). However, this rule
does not always apply. In Lowrie, the special master wrote that “written records which
are, themselves, inconsistent, should be accorded less deference than those which are
internally consistent.” Lowrie, at *19.

        The United States Court of Federal Claims has recognized that “medical records
may be incomplete or inaccurate.” Camery v. Sec’y of Health & Human Servs., 42 Fed.
Cl. 381, 391 (1998). The Court later outlined four possible explanations for
inconsistencies between contemporaneously created medical records and later
testimony: (1) a person’s failure to recount to the medical professional everything that
happened during the relevant time period; (2) the medical professional’s failure to
document everything reported to her or him; (3) a person’s faulty recollection of the events
when presenting testimony; or (4) a person’s purposeful recounting of symptoms that did
not exist. La Londe v. Sec’y of Health & Human Servs., 110 Fed. Cl. 184, 203-04 (2013),
aff’d, 746 F.3d 1335 (Fed. Cir. 2014).




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       The Court has also said that medical records may be outweighed by testimony that
is given later in time that is “consistent, clear, cogent, and compelling.” Camery, 42 Fed.
Cl. at 391 (citing Blutstein v. Sec’y of Health & Human Servs., No. 90-2808, 1998 WL
408611, at *5 (Fed. Cl. Spec. Mstr. June 30, 1998). The credibility of the individual offering
such testimony must also be determined. Andreu v. Sec’y of Health & Human Servs., 569
F.3d 1367, 1379 (Fed. Cir. 2009); Bradley v. Sec’y of Health & Human Servs., 991 F.2d
1570, 1575 (Fed. Cir. 1993).

        A special master may find that the first symptom or manifestation of onset of an
injury occurred “within the time period described in the Vaccine Injury Table even though
the occurrence of such symptom or manifestation was not recorded or was incorrectly
recorded as having occurred outside such period.” Section 13(b)(2). “Such a finding may
be made only upon demonstration by a preponderance of the evidence that the onset [of
the injury] . . . did in fact occur within the time period described in the Vaccine Injury
Table.” Id.

       The special master is obligated to fully consider and compare the medical records,
testimony, and all other “relevant and reliable evidence contained in the record.” La
Londe, 110 Fed. Cl. at 204 (citing § 12(d)(3); Vaccine Rule 8); see also Burns v. Sec’y of
Health & Human Servs., 3 F.3d 415, 417 (Fed. Cir. 1993) (holding that it is within the
special master’s discretion to determine whether to afford greater weight to medical
records or to other evidence, such as oral testimony surrounding the events in question
that was given at a later date, provided that such determination is rational).

   IV.    Finding of Fact

      I make these findings after a complete review of the record, including all medical
records, affidavits, the motion and response, and other evidence filed. Specifically, I rely
upon the following evidence:

          •   Ex. 1 at 2, establishing that a flu vaccine was administered to Petitioner on
              October 25, 2017. This record states the vaccine was administered
              intramuscularly, and “R” is circled, suggesting Petitioner’s right deltoid as
              the administration situs.

          •   Ex. 13 at 4-5, a certified record from the pharmacy documenting that a flu
              vaccine was dispensed for Petitioner on October 25, 2017, but not indicating
              the vaccination site or other details pertaining to administration.

          •   Ex. 4 at 36, a record of a December 27, 2017 visit to a licensed massage
              therapist at Lutheran Medical Center where Petitioner reported that his “left


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     upper arm has been sore and has difficulty raising arm ever since he got a
     flu shot in October 2017.”

 •   Ex. 2 at 32, a record of a January 17, 2018 office visit with Dr. Todd Wisser,
     documenting that Petitioner reported left arm tenderness and that he “had
     pain in this area since an influenza vaccine 10/2017.” Dr. Wisser assessed
     Petitioner with deltoid tendinitis and added “[p]ain noted after influenza
     vaccine October 2017, it has been roughly 3 months the patient has not had
     any improvement.” Id. On examination, Petitioner was found to have
     tenderness to palpation at the insertion of the deltoid tendon to the humerus,
     pain with abduction of his left arm, but full passive range of motion. Id. at
     33.

 •   Ex. 2 at 30, a record of a January 24, 2018 ultrasound of Petitioner’s left
     shoulder, noting that the ultrasound was indicated due to “[p]ain in the
     region of the deltoid muscle attachment following a flu shot in October.” Id.
     The ultrasound found no abnormality at the deltoid muscle attachment on
     the humerus and a suspected small intrasubstance tear of the rotator cuff
     tendon measuring 2 mm thick. Id.

 •   Ex. 3 at 33, pertaining to a March 27, 2018 physical therapy initial
     examination and noting that the evaluation was due to “left shoulder pain
     that onset after getting a flu shot in October of 2017. The patient states he
     had no pain prior to the injection, although after developed discomfort that
     has remained consistent since.” Id. His primary concern was noted as “L
     shoulder discomfort that onset following a flu shot in October 2017.” Id.

 •   Ex. 8 at 50, a record of a May 31, 2018 visit with Dr. Charles Gottlob,
     assessing Petitioner with bursitis and noting that “Gary had probably a
     proximal flu vaccine in October and has developed some subacromial
     bursitis related to that. He had an ultrasound that showed a ‘2 mm interstitial
     partial tear of his rotator cuff’, that is really clinically relevant. I think the issue
     really is that he just developed a bursitis from the flu vaccine.” Id. This
     record, confusingly, refers to problems with both Petitioner’s left and right
     shoulders. Id. Dr. Gottlob assessed Petitioner with “bursitis of left shoulder”
     and “Pain in left shoulder,” and directly below that states “Right shoulder
     bursitis.” Id. (emphases added). Based on the context, including the
     significance placed on the ultrasound findings, which resulted from an
     ultrasound of Petitioner’s left shoulder, I find that Dr. Gottlob’s assessment
     related to Petitioner’s left shoulder and that the reference to right shoulder
     bursitis appears to be a typographical error.



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          •   Ex. 10, Petitioner’s affidavit, at ¶¶ 4-6, explaining that Petitioner arrived at
              the flu vaccine clinic 15 minutes before it closed, and that when he arrived
              there were two or three other people waiting and only one person, who
              seemed flustered by the number of people, administering vaccines.
              Petitioner stated that he requested that the vaccine be administered in his
              left arm because he is right handed, and noted that the person administering
              vaccines “seemed rushed and was not talkative.” Id. at ¶ 8. Petitioner
              added:

                     Before I knew it, he put the needle in my left shoulder. I instantly felt
                     a pain that was different than other flu vaccinations I received. When
                     I looked up, the gentleman was already working with the next person
                     in line. I no longer saw the piece of paper that I filled out and he did
                     not complete his portion of the form while he was sitting with me.

              Ex. 10 at ¶ 9.
       The above medical entries preponderantly support the conclusion that the October
25, 2017 flu vaccine Mr. Allen received was likely administered in his left arm. Although
Ex. 1 records the site of vaccination as Petitioner’s right deltoid, the preponderance of the
evidence indicates that the vaccine was more likely administered in Petitioner’s left arm.
Indeed – virtually all evidence in the record temporally thereafter supports that allegation.
In seeking treatment, Petitioner consistently related his left shoulder pain to his October
2017 flu vaccination. Petitioner’s assertion that the person who administered the vaccine
did not complete the form, including the portion indicating in which arm the vaccine was
administered, in Petitioner’s presence also provides a rational explanation for the
purported error.

       Accordingly, I find there is preponderant evidence to establish that the vaccination
alleged as causal in this case was, more likely than not, administered in Petitioner’s left
arm on October 25, 2017. Thus, Petitioner’s motion for a fact ruling is granted.

   V.     Scheduling Order

      Petitioner should proceed with preparing a demand, with supporting
documentation, for Respondent’s consideration. I understand that Respondent cannot
provide a response to this demand until he has obtained formally his client’s position.
However, the parties should strive to be in a position to immediately discuss damages
once Respondent indicates he is amenable to consideration of Petitioner’s demand after
Respondent’s review is complete. In addition, it is sensible for Petitioner to calculate likely
damages as quickly as possible in any case pending in SPU.



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Accordingly:
  •   Petitioner shall file, by no later than Wednesday, March 31, 2021, a status
      report providing the following information:

         o Whether and when Petitioner provided a demand for damages with
           supporting documentation to Respondent’s counsel;
         o Whether there is a Medicaid lien in this case and, if so, when Petitioner
           anticipates providing documentation of the lien to Respondent;
         o Petitioner’s current treatment status and condition;
         o Whether all updated medical records have been filed; and
         o A list of each component of damages allegedly suffered by Petitioner.

  •   Respondent shall file a status report indicating how he intends to proceed in
      this case by Wednesday, May 05, 2021. At a minimum, the status report shall
      indicate whether he is willing to engage in tentative discussions regarding
      settlement or proffer, is opposed to negotiating at this time, or that the Secretary
      has not yet determined his position. In the event Respondent wishes to file a Rule
      4(c) report, he may propose a date for filing it, but shall indicate his position on
      entering into negotiations regardless of whether he wishes to file a Rule 4(c) report.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




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